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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               DEL RIO DIVISION


 STATE OF TEXAS                              §
     Plaintiff,                              §
  v.                                         §
                                             §
 ALEJANDRO MAYORKAS, in his                  § CIVIL ACTION NO. 2:23-CV-00024-AM
 official capacity as Secretary of           §
 Department of Homeland Security;            §
 UNITED STATES DEPARTMENT                    §
 OF HOMELAND SECURITY;                       §
 MERRICK GARLAND, in his official            §
 capacity as Attorney General of the         §
 United States; UNITED STATES                §
 DEPARTMENT OF JUSTICE                       §
        Defendants.                          §

________________________________________________________________

ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION OF TIME
________________________________________________________________

       Pending before this Court is Plaintiff’s Motion for Extension of Time to respond to

Defendants’ Motion to Dismiss Complaint [ECF No. 20].

       After due consideration of the law, and all briefing submitted, the Court finds that the

motion is meritorious. It is therefore ORDERED that the Plaintiff’s Motion for Extension of Time

is GRANTED. Plaintiff’s Responsive Pleading deadline shall be November 13, 2023.




       SIGNED on this the _________day of _________2023.



                                                    ______________________________
                                                    ALIA MOSES
                                                    CHIEF UNITED STATES DISTRICT JUDGE
